Case 4:07-cv-05944-JST Document 3027-5 Filed 11/07/14 Page 1 of 4




                EXHIBIT 12




 (FILED UNDER SEAL)
Case 4:07-cv-05944-JST Document 3027-5 Filed 11/07/14 Page 2 of 4




                EXHIBIT 13




 (FILED UNDER SEAL)
Case 4:07-cv-05944-JST Document 3027-5 Filed 11/07/14 Page 3 of 4




                EXHIBIT 14




 (FILED UNDER SEAL)
Case 4:07-cv-05944-JST Document 3027-5 Filed 11/07/14 Page 4 of 4




                EXHIBIT 15




 (FILED UNDER SEAL)
